Case 1:19-cv-01339 Document 1-1 Filed 10/11/19 Page 1o0f1PagelID#: 16

APPLICATION FOR EMPLOYMENT

 

Rapides Parish Sheriff's Office LEAVE THIS AREA BLANK
701 Murray Street, Third Floor

Post Office Box 1510 Date Received:

Alexandria, LA 71309 Pass II Test Date: Score:
Telephone: (318) 473-6700 Nelson Denny Date: Score:

The Rapides Parish Sheriffs Office does not discriminate in hiring or employment on the
basis of race, color, religious creed, national origin, sex, ancestry, medical condition,
disability or handicap or on the basis of age against persons whose age is between forty and
seventy. No questions on this application is intended to secure information to be used for
such discrimination. Application shall remain on file for one year from date of receipt.

 

 

 

 

 

 

 

 

 

Position Applying For:
(Corrections, Uniform, Investigations, Clerical, Other)
1. NAME: .
Last First Middle
a. ADDRESS:
Street Address City State Zip Code ( )
b.
Residence Phone Number Business Phone Number Social Security
Number
c. Race*__ Sex Religion Blood Type
d.
Driver’s License State Issued License Number Type Expiration Date
e. Are you a United States Citizen? Yes No. Ifno, what type of Visa
do you hold?
f. Date of Birth: Place of Birth:
Height: Weight: Eyes: Hair:
g. Person to be notified in case of emergency:
Name: Phone Number
Address:

 

* This information is needed to measure compliance with the Office’s Affirmative
Action Policy and with Equal Opportunity Laws.

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